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EXHIBIT 19

 

From: Margit Chadwell

Sent: Wednesday, March 6, 2019 4:45 PM

To: Vickie Muhammad

Ce: Loretta Robichaud

Subject: RE: Anthony Eid F/U and Dr. Baker reschedule?

Ok thank you Vickie,

So he was granted and extension until March 20". Our role/Loretta’s role would be to encourage his timely appeal or
withdrawal.

Margit

Margit Chadwell, MD, FAAFP

Associate Dean of Student Affairs and Career Development
Wayne State University School of Medicine

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540 E. Canfield, Detroit, MI 48201

Ph: 313-577-1463 Fax: 313-577-0361

 

150 YEARS

IN THE HEART OF DETROIT

From: Vickie Muhammad <vmuhamme@med.wayne.edu>
Sent: Wednesday, March 6, 2019 4:41 PM

To: Margit Chadwell <mchadwel@med.wayne.edu>

Cc: Loretta Robichaud <lrobicha@med.wayne.edu>
Subject: RE: Anthony Eid F/U and Dr. Baker reschedule?

Dr. Chadwell,

Yes, he met with Anthony this morning he understands he is dismissed; he gave him an extension beyond the 10
business days (March 13"); | will say to March 20" to submit his appeal or withdraw; and he should still meet with
Loretta. Per Dr. Baker, although he met with Anthony, he is prolonging the process and final decision.

If he is going to appeal, Loretta should encourage him to submit his appeal asap. Let me know if this makes sense.

Vickie

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Vickie Muhammad

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Vickie Muhammad
7 Manager & Assistant to Dr. Richard Baker
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Organizational Clarity and Operational Excellence

 

 

150 YEARS

IN THE HEART OF DETROIT

From: Margit Chadwell <mchadwel@med.wayne.edu>
Sent: Wednesday, March 6, 2019 2:11 PM

To: Vickie Muhammad <vmuhamme@med_wayne.edu>
Subject: Anthony Eid F/U and Dr. Baker reschedule?

Hi Vickie,

You mentioned Anthony met with Dr. Baker today — Loretta has a meeting with him tomorrow afternoon. Can we get an
update before she meets with him to know how to approach that? Also, is Dr. Baker available to meet tomorrow
morning (Tuesday reschedule)?

Thanks

Margit Chadwell, MD, FAAFP

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